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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARC JACOBS TRADEMARKS, LLC and
MARC JACOBS INTERNATIONAL, LLC,                      Case No. 20-cv-00807

               Plaintiffs,                           Judge Charles R. Norgle
v.
                                                     Magistrate Judge Susan E. Cox
JOUSTIMO STYLISH STORE, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Marc Jacobs

Trademarks, LLC (“MJT”) and Marc Jacobs International, LLC (“MJI”) (collectively, the “MJ

Entities” or “Plaintiffs”), hereby dismisses this action with leave to reinstate within one hundred

and eighty (180) days, as to the following Defendants:

             Defendant Name                                          Line No.
             konjoy bags store                                          5
        LHCMGLGWW FanLeng Store                                          7
              Locimole Store                                            14
            miuline Global Store                                        30
               Mowah Store                                              37
               Richgo Store                                             65
             Silver Lake Store                                         141
              Wind lake Store                                          170
               XUEHU Store                                             179
          YASICAIDI Official Store                                     181
             zhongjie205 Store                                         191
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Dated this 11th day of June 2020.    Respectfully submitted,

                                     /s/ Allyson M. Martin
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                                     Justin R. Gaudio
                                     Allyson M. Martin
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                                     LLC and Marc Jacobs International, LLC




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